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PROB 22                                                                                                               CASE NU'.'v1BER (/'ran Court)
(Rev 2/88)
                                                                                                                      2: I 4CR00103-001
                                     TRANSFER OF .JlJRISDICTION
                                                                                                                      CASI: Nli\1BER (flee. Court!

                                                                               Case No. 19-80009-TP-Middlebrooks
NAM! AND :\DDRLSS OF SUPEKVISLD REl.li\SU:.                                  DISTRICT                                 DlVISION
Mushc Ychuda DunolT                                                          Eastern District
                                                                             of Pennsylvania                          Probation
                                                  TM                         NAME OF SFNITNCINCi JlJDOE
                                                                             The I Ionorablc Jan E. DuBois
                                        Feb 21, 2019
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                                                                             RFU· ASL
                                                    West Palm Beach
                                                                                                                      I 0/26/18          10/25/19
OFFEl\SE

Conspiracy (Count One); wire fraud, aiding and abetting (Counts Two, Four and 11); engaging in monetary transaction
in the proceeds of fraud, aiding and abetting (Counts 16 and 20); and securities fraud, aiding and abetting (Count 22)

PART t - ORDER TRANSFERRING .JURISDICTION

L:Nrrrn Yl :\TL~ DISTRICT l'Ol.'.RT FOR Tl IL Lajj~m District of Pennsylvania

        IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the supervised releasee named
above be transferred with the records of the Court to the United States District Court for the Southern District of Florida
upon that Cou1t 's order of acceptance of jurisdiction. This Court hereby expressly consents that the period of supervised
release may be changed by the District Court to which this transfer is made without further inquiry of this Court.*




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*This scntcm:e may be deleted in the discretion of the tran~fcrring Court.

PART 2 - ORDER ACCEPTING .JURISDICTION


t:NITEO STATES DISTRICT COt:R'r FOR Tl II: Southern District of Florid(!

       IT IS HFRFBY ORDERED that jurisdiction over the above-named supervised releasee be accepted and
assumed by this Court from and after the entry of this order.




           Eiji!c1iw f)a1e                                                         I ·nired States l>is1rict .Judge

                                                                                                 K~JJl.A~A-fll~


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                                                                                   U.S. Probation Office
                                                                                   Eastern District of PA
